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ED STATES DISTRICT COURT 4
|= THERN DISTRICT OF ILLINOIS rep 23 20
| EASTERN DIVISION woe ROM eper
. US. ae COURT JUDGE
“MERICA )
a ) No. 09 CR 928-3
Vs. ) Judge Harry D. Leinenweber
)
CARL MURPHY, aka “Ceno” and )
“C-Note” )
PLEA AGREEMENT

1. This Plea Agreement between the United States Attorney for the Northern
District of Illinois, PATRICK J. FITZGERALD, and defendant CARL MURPHY, aka
“CENO” and “C-NOTE,” and his attorney, EUGENE STEINGOLD, is made pursuant to
Rule 11 of the Federal Rules of Criminal Procedure. The parties to this Agreement have
agreed upon the following:

Charges in This Case

2. The indictment in this case charges defendant with four counts of knowingly
and intentionally distributing a controlled substance, namely, 50 grams or more of mixtures
and substances containing cocaine base in the form of crack cocaine, a Schedule II Narcotic
Drug Controlled Substance, in violation of Title 21, United States Code, Section 841(a)(1),
and Title 18, United States Code, Section 2.

3. Defendant has read the charges against him contained in the indictment, and
those charges have been fully explained to him by his attorney.

4. Defendant fully understands the nature and elements of the crimes with which

he has been charged.
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Charge to Which Defendant is Pleading Guilty

5. By this Plea Agreement, defendant agrees to enter a voluntary plea of guilty
to Count Three of the indictment, which charges defendant with knowingly and intentionally
distributing 50 grams or more of cocaine base in the form of crack cocaine, in violation of
Title 21, United States Code, Section 841(a)(1).

Factual Basis

6. Defendant CARL MURPHY (hereinafter “MURPHY”) will plead guilty
because he is in fact guilty of the charge contained in Count Three of the indictment. In
pleading guilty, MURPHY admits the following facts and that those facts establish his guilt
beyond a reasonable doubt:

On or about April 9, 2009, at Chicago, in the Northern District of Illinois, Eastern
Division, MURPHY, knowingly and intentionally distributed a controlled substance, namely,
50 grams or more of mixtures and substances containing cocaine base in the form of crack
cocaine (hereinafter “crack cocaine’), a Schedule II Narcotic Drug Controlled Substance, in
violation of Title 21, United States Code, Section 841(a)(1).

Specifically, on or about April 7, 2009, in the evening, a Chicago police officer
working in an undercover capacity (hereinafter “UC1") called MURPHY and told him that
a purported customer wanted to buy nine ounces of crack cocaine. The purported customer

was in fact another Chicago police officer working in an undercover capacity (hereinafter

 
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“UC2"). MURPHY told UCI that he would find out how much a supplier would charge for
nine ounces of crack cocaine.

On or about April 9, 2009, in the afternoon, UC1 called MURPHY and told him that
UC2 wanted to buy nine ounces of crack cocaine. After some negotiation during various
phone calls, MURPHY agreed to sell the UCs nine ounces of crack cocaine for $6,500.
MURPHY told the supplier that he intended to sell the crack cocaine to the UCs, and the
supplier agreed to sell MURPHY the crack cocaine for $6,000.

That night, MURPHY drove a silver Dodge Intrepid to meet the UCs near the
intersection of 80th Street and South Union Avenue in Chicago. MURPHY got inside the
UCs’ vehicle and called the supplier. MURPHY got back into the silver Dodge Intrepid and
the UCs followed him to 87th Street and the Dan Ryan Highway.

MURPHY and the UCs parked their vehicles near Harold’s Chicken at 100 W. 87th
Street. MURPHY got inside the UCs’ vehicle and asked the UCs for $6,500. When the UCs
refused to give MURPHY the money before they received the drugs, MURPHY called the
supplier.

MURPHY then drove the silver Dodge Intrepid to a nearby Jewel parking lot and met
the supplier. The supplier gave MURPHY four knotted plastic bags containing crack
cocaine. MURPHY then drove to a nearby Home Depot at 200-232 W. 87" Street in

Chicago. The UCs met him there.

 
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MURPHY got into the UCs’ vehicle and placed the four bags of crack cocaine on a
scale. The crack cocaine weighed approximately 221-222 grams, being approximately 33-34
grams short of the agreed upon amount. MURPHY called the supplier, put the crack cocaine
in his pocket, and got out of the UCs’ vehicle.

MURPHY met the supplier inside the Home Depot. The supplier distributed two
additional loose chunks of crack cocaine to MURPHY.

MURPHY got into the UCs’ vehicle and placed the four bags of crack cocaine and
the two loose chunks of crack cocaine on the scale. The crack cocaine weighed
approximately 224 grams. MURPHY called the supplier because the crack cocaine weighed
less than the agreed upon amount. UC2 agreed to pay MURPHY $6,200 for the crack
cocaine. MURPHY delivered the approximately 224 grams of crack cocaine to UC2 and
took $6,200 in pre-recorded buy funds for UC2.

7. MURPHY also acknowledges that for the purpose of computing his sentence
under the Sentencing Guidelines, the following conduct, to which he stipulates, constitutes
relevant conduct under Guideline § 1B1.3:

a. On or about November 11, 2008, at Chicago, MURPHY knowingly and
intentionally distributed approximately 62.2 grams of crack cocaine to UC1 and UC2 in
exchange for $2,100 in pre-recorded buy funds, in violation of Title 21, United States Code,

Section 841(a)(1).

 
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b. On or about February 20, 2009, at Dolton, MURPHY knowingly and
intentionally distributed approximately 54.6 grams of crack cocaine to UC1 and UC2 in
exchange for $1,800 in pre-recorded buy funds, in violation of Title 21, United States Code,
Section 841(a)(1).

C. On or about June 24, 2009, at Chicago, MURPHY and co-defendant
John Evans knowingly and intentionally distributed approximately 124.7 grams of crack
cocaine to UC1 and UC2 in exchange for $3,400 in pre-recorded buy funds, in violation of
Title 21, United States Code, Section 841(a)(1). Co-defendant Stephen Patrick supplied
MURPHY and Evans with the crack cocaine.

d. Beginning on or about July 12, 2008 and continuing until on or about
September 1, 2009, MURPHY knowingly and intentionally distributed approximately one
to two grams of heroin every other day to wholesale and retail customers, including UC1 and
UC2, on the south side of Chicago, totaling at least approximately 208 grams of heroin, in
violation of Title 21, United States Code, Section 841(a)(1).

e. On or about December 30, 2008, MURPHY knowingly and intentionally
distributed approximately 24.9 grams of heroin to UC1 in exchange for $2,200, in violation
of Title 21, United States Code, Section 841(a)(1).

Maximum Statutory Penalties
8. Defendant understands that the charge to which he is pleading guilty carries

the following statutory penalties:

 
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a. A maximum sentence of life imprisonment, and a statutory mandatory
minimum sentence of 10 years. Pursuant to Title 18, United States Code, Section 3561,
defendant may not be sentenced to a term of probation for this offense. This offense also
carries a maximum fine of $4,000,000. Defendant further understands that the judge also
must impose a term of supervised release of at least five years, and up to any number of
years, including life.

b. In accord with Title 18, United States Code, Section 3013, defendant

will be assessed $100 on the charge to which he has pled guilty, in addition to any other

penalty imposed.

 

 
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28. Defendant acknowledges that he has read this Plea Agreement and carefully
reviewed each provision with his attorney. Defendant further acknowledges that he

understands and voluntarily accepts each and every term and condition of this Agreement.

AGREED THis DaTE:_ 3/20 |

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PATRICK J. FITZGERALD CARL MURPHY
United States Attorney Defendant

L A. BELL EUGENY: STEINGOLD
Assistant U.S. Attorney Attorney for Defendant

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